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 8
                                         UNITED STATES DISTRICT COURT
 9                                      NORTHERN DISTRICT OF CALIFORNIA
                                            SAN FRANCISCO DIVISION
10
11   ECOLOGICAL RIGHTS FOUNDATION, a
     non-profit corporation,                                     Civil Case No. 3:20-cv-06898-SI
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13                                                              STIPULATION AND [PROPOSED]
                       Plaintiff,
14                                                              ORDER TO CONTINUE DEADLINES
             v.                                                 FOR ADDITIONAL BRIEFING (RE:
15                                                              DKT. 54)
     UNITED STATES ENVIRONMENTAL
16
     PROTECTION AGENCY,
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18                     Defendant.

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     Stipulation to Continue Deadline For Additional Briefing                  Civil Case No. 3:20-cv-06898-SI
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 1           Pursuant to Local Civil Rules 6-2 and 7-12, the parties, through the undersigned
 2 counsel, submit the following stipulation to continue the deadline for filing any motion
 3 for attorneys’ fees and costs under Federal Rules of Civil Procedure 54(d)(2) for 67 days.
 4 To that end, the parties request that the deadline to file a motion for attorneys’ fees and
 5 costs be continued from August 4, 2023 (30 days after the U.S. Court of Appeals for the
 6 Ninth Circuit issues a decision on the appeal) to October 10, 2023. (Dkt 54).
 7           WHEREAS, the Court issued its judgment in this matter on June 15, 2022 (Dkt.
 8 50).
 9           WHEREAS, Federal Rule of Civil Procedure 54(d)(2) generally provides a 14-day
10 deadline from the entry of judgment for a party to file a motion for attorneys’ fees and
11 costs.
12           WHEREAS, on June 27, 2022, the Court granted a stipulation to continue the
13 deadline for a motion for attorneys’ fees and costs under Federal Rule of Civil Procedure
14 54(d)(2) to 30 days after the U.S. Court of Appeals for the Ninth Circuit issues a decision
15 on the appeal. (Dkt. 54).
16           WHEREAS, Plaintiff appealed the Court’s June 15, 2022 judgment on June 23,
17 2022 and the Ninth Circuit rendered its decision denying Plaintiff’s appeal on July 5,
18 2023, thus rendering any motion for attorneys’ fees and costs due on August 4, 3023.

19 (Dkts. 51, 55, 56).
20           WHEREAS, Defendant contends that Plaintiff is neither eligible for nor entitled to
21 any award of attorneys’ fees and costs in this matter;
22           WHEREAS, the parties have agreed to confer on the issue of attorneys’ fees; and
23           WHEREAS, the additional time will allow the parties an opportunity to attempt to
24 resolve any remaining issues related to attorneys’ fees and costs, if any, without further
25 Court involvement, or in the alternative to file any necessary motions. As such, it is
26 hereby stipulated by and between the parties that the deadline to file a motion for
27 attorneys’ fees and costs be continued such that the motion deadline shall be October 10,
28 2023. This is the parties’ second request for a continuation of the deadline to file any

     Stipulation to Continue Deadlines For Additional Briefing        Civil Case No. 3:20-cv-06898-SI
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 1 motions for attorneys’ fees and costs and the parties do not anticipate that this request
 2 will impact the case management schedule in this matter.
 3 IT IS SO STIPULATED.
 4
 5
     DATED: July 26, 2023                                        ECOLOGICAL RIGHTS FOUNDATION
 6
 7
                                                                 By: /s/ Stuart Wilcox
                                                                      STUART N. WILCOX
 8
                                                                 Attorney for Plaintiff
 9
10
     DATED: July 26, 2023                                        Respectfully submitted,
11                                                               ISMAIL J. RAMSEY
12
                                                                 United States Attorney

13                                                               /s/ Valerie E. Smith*
14
                                                                 VALERIE E. SMITH
                                                                 Assistant United States Attorney
15                                                               Attorneys for Defendant
16
   *In compliance with Civil Local Rule 5-1(i)(3), the filer of this document attests that each
17 signatory has concurred in the filing of this document.
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     Stipulation to Continue Deadlines For Additional Briefing                        Civil Case No. 3:20-cv-06898-SI
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 1                                               [PROPOSED] ORDER
 2           PURSUANT TO STIPULATION, any motion for attorneys’ fees pursuant to
 3 Federal Rule of Civil Procedure 54(d)(2) is continued to October 10, 2023.
 4           IT IS SO ORDERED.
 5
     Dated:
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                                                THE HONORABLE SUSAN ILLSTON
 9
                                                United States District Judge
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     Stipulation to Continue Deadlines For Additional Briefing                 Civil Case No. 3:20-cv-06898-SI
